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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    OCALA DIVISION

KATHERINE BROOKS,

       Plaintiff,
                                                             CASE NO. 5:17-cv-173-MMH-PRL
v.

COMENITY LLC d/b/a COMENITY BANK

      Defendant.
____________________________________/

                         JOINT STIPULATION FOR DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff, KATHERINE BROOKS, and

COMENITY LLC d/b/a COMENITY BANK, hereby stipulate the dismissal with prejudice of

the lawsuit against Defendant, COMENITY LLC d/b/a COMENITY BANK. The parties further

stipulate that each shall be responsible for bearing their own expenses, costs of litigation and

attorney’s fees.

       Dated: June 8, 2018

s/ Seth M. Lehrman                                 /s/ Charles J. McHale
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